AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

IN THE MATTER OF THE SEARCH OF INFORMATION
ASSOCIATED WITH FACEBOOK USER ID “LESTHE
BEST” (www. facebook.com/lesthe.best.5) THAT IS
STORED AT PREMISES CONTROLLED BY FACEBOOK
INC.

carne, 1F-FTION (NL)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim P. 41(c) is:
im evidence of a crime;
C1) contraband, fruits of crime, or other items illegally possessed;
ii property designed for use, intended for use, or used in committing a crime;
C) a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 18, United States Code, Sections 2113(a), 2113(d), 924(c)(1)(A)(i), and 922(g)\1).

The application is based on these facts: See attached affidavit.

LO Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Ko P=

Applicant’s signature

Special Agent Daniel Gartland, FBI

 

 

 

 

Printed Name and Title.
efore me and signed in my presence: a Se f—
/ ™ ‘Ore La
City and State: Milwaukee, Wisconsin Honorable Nancy Joseph U.S. Magistrate Judge
Printed Name and Title

 

 

 
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

IN THE MATTER OF THE SEARCH OF

INFORMATION ASSOCIATED WITH

FACEBOOK USER ID “LESTHE BEST” Case No. | 8-FATO NN ( nT)
(www.facebook.com/lesthe.best.5) THAT IS

STORED AT PREMISES CONTROLLED BY |! Filed Under Seal

FACEBOOK INC.

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Daniel Gartland, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with a certain Facebook user ID that is stored at premises owned,
maintained, controlled, or operated by Facebook Inc. (“Facebook”), a social networking
company headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of an
application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A)
to require Facebook to disclose to the government records and other information in its
possession, pertaining to the subscriber or customer associated with the user ID.

2. I am a Special Agent for the Federal Bureau of Investigation (FBD), and have been
so employed since May 2018. Since October 2018, I have been assigned to the FBI’s Milwaukee
Area Violent Crimes Task Force. This Task Force is a multi-jurisdictional law enforcement
entity charged with investigating violations of federal law, including bank robberies, commercial

robberies, and other violent crime matters, defined under Title 18 of the United States Code.

 

 
3. I have been trained in a variety of investigative and legal matters, including the
topics of Fourth Amendment searches, the drafting of search warrant affidavits, and probable
cause. I have assisted in criminal investigations, participating in surveillance, interviews, and
debriefs of arrested subjects. As a result of this training and investigative experience, I have

learned how and why violent actors typically conduct various aspects of their criminal activities.

4. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

5. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 18, United States Code, Section 2113(a) (entering to commit a bank robbery),
Title 18, United States Code, Section 2113(a) and (d) (armed bank robbery), Title 18, United
States Code, Section 924(c)(1)(A)(ii) (use of a firearm during a crime of violence), and Title 18,
United States Code, Sections 922(g)(1) (unlawful possession of a firearm by a prohibited person)
have been committed by Quadir S. El Amin and Leslie Wilbert. There is also probable cause to
search the information described in Attachment A for evidence and instrumentalities of these
crimes as described in Attachment B.

PROBABLE CAUSE

6. On September 18, 2018, a federal grand jury in the Eastern District of Wisconsin
returned an indictment against Quadir 8. E] Amin for violations of Title 18, United States Code,
Section 2113(a) (entering to commit a bank robbery), Title 18, United States Code, Section

2113(a) and (d) (armed bank robbery), Title 18, United States Code, Section 924(c)(1)(A)(ii)

 

 
(use of a firearm during a crime of violence), and Title 18, United States Code, Sections
922(g)(1) and 924(e) (unlawful possession of a firearm by a prohibited person).

7. On Friday, August 24, 2018 at approximately 1:22 p.m., a black male subject,
later identified as Quadir S. El Amin, attempted to rob the Wells Fargo bank located at 6130
West National Avenue in West Allis, Wisconsin. The bank is a federally insured financial
institution with its funds insured by the Federal Deposit Insurance Corporation. The subject
walked through the vestibule, opened the lobby doors, and stepped inside of the bank while
holding a black firearm in his right hand and carrying a black bag. As a bank customer walked
towards the exit doors, the subject turned and fled.

8. Officers of the West Allis Police Department were dispatched and responded to
the bank. Witnesses described the subject as a male black, approximately 20 to 30 years old,
approximately 6 feet tall with a skinny build, wearing a yellow traffic vest, dark clothing, and a
mask. A witness observed a “white contractor type van with side windows” drive by twice after
the subject fled.

9. The bank’s surveillance video shows a subject wearing a dark hooded sweatshirt,
dark pants, a yellow traffic vest bearing the words “POBLOCKI PAVING” on the back, and
black high-top shoes with red markings. The subject’s hood is up, and the brim of his baseball
cap is visible.

10. Officers canvassed for the subject without success.

11. Four days later on Tuesday, August 28, 2018 at approximately 9:49 a.m., a black
male subject, later identified as Quadir S. El Amin, robbed the same Wells Fargo bank. Again,
the subject was a black male with a thin build wearing a dark hooded sweatshirt, dark pants, a

yellow traffic vest bearing the words “POBLOCKI PAVING” on the back, and black high-top

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shoes with red markings. The subject approached a bank employee, pointed a small black firearm
with a laser sight in his face, walked the employee over to the teller line, provided the employee
the duffel bag, and told the employee to give the duffel bag to the teller. In response to verbal
demands and threats, the teller filled the bag with money along with four bait bills and a GPS
tracker. The subject took the bag and fled.

12. Based on information from a parking enforcement employee and the GPS
tracking device, officers initiated a pursuit of a white cargo van bearing Wisconsin license plate
709-YLG. Officers briefly lost sight of the white cargo van when it turned onto a side street.
Officers observed El Amin running away from the van and gave chase. During that chase, El
Amin tossed the duffel bag into some bushes near an apartment building before being taken into
custody at approximately 9:57.a.m. At the time of his arrest, El Amin was wearing blue jeans, a
black t-shirt, and black Nike Air Jordan high-top shoes with red markings.

13. An officer recovered an LG cellphone from El Amin’s left pants pocket, and a
second officer recovered a small black pistol with a laser sight from his right pocket along with
keys to the white cargo van. Officers also recovered the duffel bag, which contained the bank’s
money, bait bills, and GPS tracking device.

14. A review of the Wisconsin Department of Transportation’s Division of Motor
Vehicles records revealed that the registered owner for vehicle registration 709-YLG is Nicholas
D. Williams (DOB: 08/13/1981). On September 4, 2018, Detective Caleb Porter of the West
Allis Police Department interviewed Williams. Williams stated that the white cargo van had
previously been used for a transport business owned by Adam Hampton and that he last saw the

white cargo van parked behind Hampton’s residence.

 

 
15. On September 6, 2018, Detective Porter then interviewed Adam Hampton, who
stated that he was in the process of selling the white cargo van with Wisconsin license plate 709-
YLG to Leslie Wilbert. Hampton allowed Wilbert to use the white cargo van, because he had
paid a $500 down payment. However, Hampton would not transfer the title until Wilbert paid the
balance. Hampton stated that Wilbert called him shortly after the robbery and stated that he had
loaned the vehicle to another person to pick up supplies at Menard’s, and the person had been
pulled over while driving the van.

16. Later that day, Detective Porter interviewed Wilbert, who stated that he loaned the
white cargo van with Wisconsin license plate 709-YLG to Quadir S. El Amin on August 28,
2018—the day of the robbery at Wells Fargo Bank. According to Wilbert, El] Amin came to
Wilbert’s house and asked to borrow the van to pick up supplies at Menard’s for a side job.
Wilbert agreed and told El Amin that he needed the van returned later that same day.
Approximately thirty minutes after El] Amin took the van, Wilbert received a call from E] Amin
from an unknown phone number. El Amin sounded distressed and advised that he had to jump
out of the van. El Amin did not tell Wilbert where he was located. The call ended before Wilbert
could obtain more information.

17. | Wilbert stated that he and El Amin met while incarcerated and stayed in contact
after their release. Wilbert claimed that he last spoke with El Amin a few weeks before the day
of the robbery. El Amin told Wilbert that he was losing his job and needed work. Wilbert stated
that he did not want El Amin’s vehicle at his house, so he drove the vehicle to El] Amin’s family
the same day. After seeing a still photograph from the bank robbery, Wilbert stated that he
previously worked for Poblocki Paving, but denied having a Poblocki Paving vest or providing

the vest to El Amin. Wilbert provided a phone number of (414) 937-0832.

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18. | A search warrant was issued to conduct a forensic analysis of El Amin’s LG
cellphone. The phone number assigned to El Amin’s LG cellphone is (414) 519-1365. That
forensic analysis shows multiple phone calls and text messages between (414) 519-1365 and
(414) 588-1797, shortly before and after the crimes on August 24, 2018 and August 28, 2018.

19. Detective Porter reviewed publicly available information compiled by a consumer
credit reporting agency, which lists Leslie Wilbert as one of four people associated with phone
number (414) 588-1797.

20. On August 24, 2018, El Amin placed phone calls from (414) 519-1365 to (414)
588-1797 at 11:57 a.m. and 12:03 p.m. He then exchanged the following communications with

that same number:

 

 

 

 

 

 

 

1790 |SMS Outgoi 8/24/2018 To: (414) 588-1797 this day this time not good
Messages "9 12:1HUTC-45) a CBI4145191365 9
Extraction: Physical
1791 |SMS Incoming 8/24/2018 From: 4145881797 lts empty
Messages 12:1XUTC-5) eu Se TaT
icton: Physical
1792 {SMS incoming 8/24/2018 From: 4145881797 its
Messages 12:14(UTC-5) 797
: Physical
1793 |SMS Outgoi 8/24/2018 To: (414) 588-1797 we need to be over here earlier its plenty
Messages "3 12:4S(UTC-5) ¢ ‘ out 1
chon: Physical
1794 |Call Log Incoming 8/24/2018 From: 4145881797 00:00:47
FQAT(UTC-S) Source Extraction: Physical

 

 

 

 

 

 

 

 

 

 

21. | Approximately an hour later at 1:22 p.m., El Amin ran into the Wells Fargo bank
while brandishing a firearm. Immediately afterwards, he placed multiple phone calls to the same
phone number at 1:22, 1:23, 1:24, 1:25, and 1:34 p.m.

22. Later that evening, El Amin exchanged the following text messages with (414)

 

 

588-1797:
1852 | SMS incoming 8/24/2018 From: 4145881797 Bro is we on fasho
Messages 19:58(UTC-5) 4
ree : Physical
1853 | SMS Incoming . 8/24/2018 From: 4145881797 Bro is we on fasho
Messages 19:58(UTC-5) 4 1797 5
re ica

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1855 |SMS Outgoing G2a2018. To: (414) 588-1797 14145191365
Messag SOUT
es } Extraction: Physical
1856 SMS Incoming 8/24/2018 From: 4145881797 Say ho more
nen zon ee emp ———
clon: Physical
1857 | SMS incoming 8/24/2018 From: 4145881797 no more
Messages 20:00(UTC-5) 1 1797
ce chon: Physical
1907 |SMS Outgoi 8/24/2018 To: (414) 588-1797 my nigga u think we can have somebody go in
Messages "9 22:10(UTC-4) there in the morning just to check trap
1908 SMS Incoming BOA ONB ) From: 4145881797 Yo 145881797
. Pers Exdraction: Physical
1909 | SMS incoming 8/24/2018 From: 4145881797 Y
Messages 22:12(UTC-5) 14 797
chion: Physical
1912 iSMS Outgoing 8/24/2018 To: (414) 588-1797 we boss
Messages 22:18(UTC-5) ay) (opkerastst 365
Extracton: Physical
1913 |SMS Incoming 8/24/2018 From: 4145881797 Ok -
Messages 22:18(UTC-45) (eBM145881797
chon: Physical
1914 |SMS Incoming 8/24/2018 From: 4145881797 Ok
Messages 22:19UTC-5) (BB 1apee 1797 i
1915 iSMS Outgoi 8/24/2018 To: (414) 588-1797 just to make sure they aint on nothi
Messages " 22:1XUTC-5) ay) 14519136 zal "
Gu Pebeeen: Physical

 

 

 

 

 

 

 

 

 

 

23. El Amin exchanged multiple phone calls and text messages with (414) 588-1797

over the next few days, including the following on August 26, 2018:

2337 |SMS Gutgoi 8/26/2018 To: (414) 588-1797 u etting that car in the momi
Messages "a 17-58(UTC-5) } 145191365 : "9
(gee Extraction: Physical

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2357 (SMS incoming 8/26/2018 From: 4145881797 We on
Messages 18:39(UTC-45) (Gi 145681 LL .
: Physical
2358 |SMS Incoming Bet es From: 4145881797 We on
18:39(UT!
Messages 39 ) (CB 48881 08 eal “Physical”
2359 | SMS Qutgoi 8/26/2018 Ta: (414) 588-1797 ok
Messages "s 18:44({UTC45) a4 1451 -
roe : Physica

 

24. On August 28, 2018—the morming of the robbery, El Amin exchanged the

following text messages with (414) 588-1797:
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2545 [SMS incoming 2812018 From: 4145881797 U up caat797
an ) chon: Physical
2546 | SMS Incoming he From: 4145881797 U 145881797
‘one igelatapes gy Physical
2547 [SMS Ouigoing 8/28/2018 To: (414) 586-1797 leaving out now
Messages 08-22(UTC-S (CBY145191365
) ee Eebacton: Physical
2548 | SMS incoming 8/28/2018 From: 4145881797 Ok
Messages 08-2&{UTC-5) 1 1797 :
; Physical
2549 [SMS Incoming 8/28/2018 From: 4145881797 Ok
Messages 08:25(UTC-5) 145881797 ;
: Physical
25. El Amin then received a 27-second phone call from the same number at 9:33 a.m.

The bank robbery was committed at approximately 9:49 a.m. He then placed a minute-long
phone call to the same number at 9:56 a.m. minutes before his arrest. That last phone call is
consistent with surveillance video showing El Amin using a cellphone while fleeing on foot.

26. Detective Porter reviewed surveillance video from the Wells Fargo bank on
August 24, 2018—the day of the attempted bank robbery. At approximately 12:08 p.m., a black
male, matching Leslie Wilbert’s description, entered the Wells Fargo bank and then exited at
12:15 p.m. That subject was wearing camouflage pants, a white t-shirt, sunglasses, and a tan
checkered baseball cap with a red accent on the side.

27. Wells Fargo provided Detective Porter with information that Leslie Wilbert met
with a banker at the Wells Fargo branch, located at 7600 West Hampton Avenue in Milwaukee,
and inquired about opening a temporary debit card. A review of the surveillance images from
that Wells Fargo branch showed the same black male, wearing camouflage pants, a white t-shirt,
sunglasses, and a tan checkered baseball cap with a red accent on the side.

28. Detective Porter entered the phone number provided by Wilbert—(414) 937-
0832—into www.facebook.com. The phone number was connected to the account “LesThe
Best” (www.facebook.com/lesthe.best.5). That account had numerous photographs of Leslie

Wilbert, including a photograph with Wilbert wearing a tan checkered baseball cap with a red
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accent on the side. This baseball cap appears to be the same one worn by Wilbert inside of the
Wells Fargo bank branches on August 24, 2018.

29. Based on the text messages between El] Amin and (414) 588-1797, Wilbert’s
presence inside of the two Wells Fargo branches within one hour of each other, and the
attempted robbery of the Wells Fargo bank approximately one hour after Wilbert exited the
bank, I believe that Wilbert acted in concert with El Amin to commit the attempted bank robbery
on August 24, 2018. I also believe that Wilbert loaned El Amin the white cargo van bearing
Wisconsin license plate 709-YLG on August 28, 2018 as a getaway vehicle for the armed bank
robbery, because the registration was not listed to El Amin or Wilbert.

30. | Onor about December 11, 2018, Special Agent Robert Rice of the FBI sent a
preservation request to Facebook for the records relating to the “LesThe Best” account
(www.facebook.com/lesthe.best.5). The account’s privacy settings prevent others from viewing
his Facebook Identification Number.

31. Facebook owns and operates a free-access social networking website of the same
name that can be accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other information with other Facebook users, and sometimes with the
general public.

32. Facebook asks users to provide basic contact and personal identifying information
to Facebook, either during the registration process or thereafter. This information may include
the user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords, physical
address (including city, state, and zip code), telephone numbers, screen names, websites, and

other personal identifiers. Facebook also assigns a user identification number to each account.

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33. | Facebook users may join one or more groups or networks to connect and interact
with other users who are members of the same group or network. Facebook assigns a group
identification number to each group. A Facebook user can also connect directly with individual
Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”
accepts the request, then the two users will become “Friends” for purposes of Facebook and can
exchange communications or view information about each other. Each Facebook user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information about
the user’s “Friends,” such as profile changes, upcoming events, and birthdays.

34. Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a
Facebook user can make information available only to himself or herself, to particular Facebook
users, or to anyone with access to the Internet, including people who are not Facebook users. A
Facebook user can also create “lists” of Facebook friends to facilitate the application of these
privacy settings. Facebook accounts also include other account settings that users can adjust to
control, for example, the types of notifications they receive from Facebook.

35. | Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items
available elsewhere on the Internet. Facebook users can also post information about upcoming
“events,” such as social occasions, by listing the event’s time, location, host, and guest list. In
addition, Facebook users can “check in” to particular locations or add their geographic locations
to their F acebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user’s profile page also includes a “Wall,” which is a space where the user

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and his or her “Friends” can post messages, attachments, and links that will typically be visible
to anyone who can view the user’s profile.

36. | Facebook allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or video. It also
provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a
user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account
will include all photos and videos uploaded by that user that have not been deleted, as well as all
photos and videos uploaded by any user that have that user tagged in them.

37. Facebook users can exchange private messages on Facebook with other users.
Those messages are stored by Facebook unless deleted by the user. Facebook users can also post
comments on the Facebook profiles of other users or on their own profiles; such comments are
typically associated with a specific posting or item on the profile. In addition, Facebook has a
chat feature that allows users to send and receive instant messages through Facebook Messenger.
These chat communications are stored in the chat history for the account. Facebook also has
Video and Voice Calling features, and although Facebook does not record the calls themselves, it
does keep records of the date of each call.

38. If a Facebook user does not want to interact with another user on Facebook, the
first user can “block” the second user from seeing his or her account.

39. Facebook has a “like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as well as
webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become “fans” of particular Facebook pages.

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40. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

41. Each Facebook account has an activity log, which is a list of the user’s posts and
other Facebook activities from the inception of the account to the present. The activity log
includes stories and photos that the user has been tagged in, as well as connections made through
the account, such as “liking” a Facebook page or adding someone as a friend. The activity log is
visible to the user but cannot be viewed by people who visit the user’s Facebook page.

42. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

43. In addition to the applications described above, Facebook also provides its users
with access to thousands of other applications (“apps”) on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s access
or use of that application may appear on the user’s profile page.

44. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP address
on Facebook, including information about the type of action, the date and time of the action, and
the user ID and IP address associated with the action. For example, if a user views a Facebook
profile, that user’s IP log would reflect the fact that the user viewed the profile, and would show
when and from what IP address the user did so.

45. — Social networking providers like Facebook typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the

service (including any credit card or bank account number). In some cases, Facebook users may

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communicate directly with Facebook about issues relating to their accounts, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like
Facebook typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by
the provider or user as a result of the communications.

46. _Asexplained herein, information stored in connection with a Facebook account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the United States to establish and prove each element
or alternatively, to exclude the innocent from further suspicion. In my training and experience, a
Facebook user’s IP log, stored electronic communications, and other data retained by Facebook,
can indicate who has used or controlled the Facebook account. This “user attribution” evidence
is analogous to the search for “indicia of occupancy” while executing a search warrant at a
residence. For example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may be
evidence of who used or controlled the Facebook account at a relevant time. Further, Facebook
account activity can show how and when the account was accessed or used. For example, as
described herein, Facebook logs the Internet Protocol (IP) addresses from which users access
their accounts along with the time and date. By determining the physical location associated with
the logged IP addresses, investigators can understand the chronological and geographic context
of the account access and use relating to the crime under investigation. Such information allows
investigators to understand the geographic and chronological context of Facebook access, use,
and events relating to the crime under investigation. Additionally, Facebook builds geo-location

into some of its services. Geo-location allows, for example, users to “tag” their location in posts

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and Facebook “friends” to locate each other. This geographic and timeline information may tend
to either inculpate or exculpate the Facebook account owner. Last, Facebook account activity
may provide relevant insight into the Facebook account owner’s state of mind as it relates to the
offense under investigation. For example, information on the Facebook account may indicate the
owner’s motive and intent to commit a crime (e.g., information indicating a plan to commit a
crime), or consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

47. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction
information, and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

48. lL anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1 (A), and 2703(c)(1)(A), by using the warrant
to require Facebook to disclose fo the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Upon receipt of the information described in Section I of Attachment B, government-authorized
persons will review that information to locate the items described in Section II of Attachment B.

CONCLUSION
49. Based on the forgoing, I request that the Court issue the proposed search warrant.
50. This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

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(c)(1)(A). Specifically, the Court is “a district court of the United States . .. that — has
jurisdiction over the offense being investigated.” 18 U.S.C. § 271 1(3)(A)G).

51. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the Facebook User ID “LesThe Best”
(www.facebook.com/lesthe.best.5), that is stored at premises owned, maintained, controlled, or

operated by Facebook Inc., a company headquartered in Menlo Park, California.

 
ATTACHMENT B
Particular Things to be Seized

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the possession,
custody, or control of Facebook Inc. (“Facebook”), regardless of whether such information is
located within or outside of the United States, including any messages, records, files, logs, or
information that have been deleted but are still available to Facebook, or have been preserved
pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the
following information to the government for each user ID listed in Attachment A:

(a) All contact and personal identifying information, including the full name, user
identification number, birth date, gender, contact e-mail addresses, physical
address (including city, state, and zip code), telephone numbers, screen names,
websites, and other personal identifiers.

(b) All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities from August 1, 2018 to September 15, 2018.

(c) All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them, including Exchangeable
Image File (“EXIF”) data and any other metadata associated with those photos
and videos;

(d) All profile information; News Feed information; status updates; videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including
the friends’ Facebook user identification numbers; groups and networks of which

the user is a member, including the groups’ Facebook group identification

 
(c)

(f)

(g)

(h)
(i)

(j)
(k)
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(m)
(n)

numbers; future and past event postings; rejected “Friend” requests; comments;
gifts; pokes; tags; and information about the user’s access and use of Facebook
applications;

All records or other information regarding the devices and internet browsers
associated with, or used in connection with, that user ID, including the hardware
model, operating system version, unique device identifiers, mobile network
information, and user agent string;

All other records and contents of communications and messages made or received
by the user from August 1, 2018 to September 15, 2018, including all Messenger
activity, private messages, chat history, video and voice calling history, and
pending “Friend” requests;

All “check ins” and other location information from August 1, 2018 to September
15, 2018;

All IP logs, including all records of the IP addresses that logged into the account;
All records of the account’s usage of the “Like” feature, including all Facebook
posts and all non-Facebook webpages and content that the user has “liked”;

All information about the Facebook pages that the account is or was a “fan” of;
All past and present lists of friends created by the account;

All records of Facebook searches performed by the account from August 1, 2018
to September 15, 2018;

All information about the user’s access and use of Facebook Marketplace;

The types of service utilized by the user;

 
(o) The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account
number);

(p) All privacy settings and other account settings, including privacy settings for
individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account;

(q) All records pertaining to communications between Facebook and any person
regarding the user or the user’s Facebook account, including contacts with support
services and records of actions taken.

Facebook is hereby ordered to disclose the above information to the government within 14 days

of service of this warrant.

 

 
I. Information to be seized by the government
All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 18, United States Code, Section 2113(a) (entering to
commit a bank robbery), Title 18, United States Code, Section 2113(a) and (d) (armed bank
robbery), Title 18, United States Code, Section 924(c)(1)(A)(ii) (use of a firearm during a crime
of violence), and Title 18, United States Code, Sections 922(g)(1) and 924(e) (unlawful
possession of a firearm by a prohibited person) committed by Quadir S. El Amin and Leslie
Wilbert in August 201 8, including, for each user ID identified on Attachment A, information
pertaining to the following matters:
(a) A robbery or attempted robbery of a bank or banks committed by Quadir S. El
Amin and/or Leslie Wilbert;
(b) The possession or use of a firearm by Quadir S. El Amin and/or Leslie Wilbert;
(c) The possession, use, or ownership of a white cargo van bearing Wisconsin license
plate 709-YLG;
(d) The presence of Quadir S. El Amin and/or Leslie Wilbert at the Wells Fargo
bank;
(e) Communications between Quadir S. El Amin and Leslie Wilbert;
(f) Evidence of any scheme, plan, or agreement between Quadir S. E] Amin and
Leslie Wilbert;
(g) Evidence of a relationship between Quadir S. El Amin and Leslie Wilbert;
(h) Preparatory steps taken in furtherance of the scheme;

(i) The proceeds of any robbery of a bank or banks;

 
(j) Evidence indicating how and when the Facebook account was accessed or used,
to determine the chronological and geographic context of account access, use, and
events relating to the crime under investigation and to the Facebook account
owner;

(k) Evidence indicating the Facebook account owner’s state of mind as it relates to
the crime under investigation;

(1) The identity of the person(s) who created or used the user ID, including records

that help reveal the whereabouts of such person(s).

 

 
